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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



Civil Action No. 12-cv-00759-BNB


RUSTY LEE SARVIS,

      Applicant,

v.

ANGEL MEDIAN, Warden, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

      Respondents.



                                         ORDER


      Because the Court has construed this action as filed pursuant to 28 U.S.C.

§ 2254, rather than 42 U.S.C. § 1983, the requirements for submitting a filing fee are set

forth under Rule 3(a)(2) of the Rules Governing Section 2254 Cases in the United

States District Courts. The Court will vacate any previous orders granting leave to

proceed pursuant to 28 U.S.C. § 1915(b)(1) and grant Applicant leave to proceed in

forma pauperis in keeping with Rule 3(a)(2). Applicant should note that payment of the

$5.00 filing fee required for habeas actions is waived and he is not required to submit a

copy of his certified account statement each month. Accordingly, it is

      ORDERED that the Court’s orders entered on June 19, 2012, ECF No. 10, and

June 6, 2012, ECF No. 8, are vacated. It is
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      FURTHER ORDERED that the Prisoner’s Motion and Affidavit for Leave to

Proceed Pursuant to 28 U.S.C. § 1915, ECF No. 2, is granted in keeping with Rule

3(a)(2) of the Rules Governing Section 2254 Cases in the United States District Courts.

      DATED September 5, 2012, at Denver, Colorado.

                                               BY THE COURT:

                                               s/Boyd N. Boland
                                               United States Magistrate Judge




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